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5
     Attorney for Defendant
6    TARLOCHEN LASHER
7

8

9                            IN THE UNITED STATED DISTRICT COURT

10                        FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                       ) Case No.: 1:07-cr-00264 AWI
                                                     )
13                   Plaintiff,                      ) STIPULATION TO EXTEND
                                                     ) SURRENDER DATE AND ORDER
14           vs.                                     )
                                                     )
15   TARLOCHEN LASHER,                               )
                                                     )
16                   Defendant.                      )
17           It is hereby stipulated by and between the parties hereto, through their respective
18   attorneys of record, as follows:
19           The defendant in this matter has been sentenced and is scheduled to self-surrender on
20   June 23, 2011. By this stipulation, it is requested that his surrender date be extended to August
21   1, 2001. The reason for the extension is that the defendant’s mother has just returned from India,
22   where she became critically ill, and is scheduled for surgery and further hospitalization in the
23   next few days. It is necessary that the defendant be present during the surgery, as well during the
24   early stages of her convalescence prior to his being incarcerated. This extension of time has
25   been approved by the United States Attorney’s Office, the United States Probation Office and
26   Pretrial services.
27   ///
28   ///
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1    Dated: June 20, 2011                                                   /s/ Carl M. Faller_____
                                                                            CARL M. FALLER
2
                                                                            Attorney for Defendant
3

4                                                                           BENJAMIN WAGNER
                                                                            United States Attorney
5

6
                                                   By                       /s/ Karen A. Escobar_____
7                                                                           KAREN A. ESCOBAR
                                                                            Assistant U.S. Attorney
8                                                                           Attorney for the United States

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            ORDER:
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11          Based upon the stipulation of the parties and good cause appearing, it is hereby

12   ORDERED that the defendant’s surrender date be extended until August 1, 2011, at the

13   designated institution or the United States Marshal’s Office in Fresno.
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22   IT IS SO ORDERED.

23   Dated: June 21, 2011
                                          CHIEF UNITED STATES DISTRICT JUDGE
                                                      DEAC_Signature-END:




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